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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                  Central Division

STONE WORKS, LLC,                               )
                                                )
                             Plaintiff,         )
                                                )
       v.                                       )          Case No. 4:21-cv-00941-JM
                                                )
RANDY SIMS, MEGAN SIMS, WILLIAM                 )
THOMAS, STONE CONCEPTS, LLC,                    )
MARTY HESCH, and EDWARD FRALEY,                 )
                                                )
                             Defendants.        )


  DEFENDANT EDWARD FRALEY’S MOTION TO STRIKE PLAINTIFF STONE
 WORKS, LLC’S AMENDED RESPONSE TO DEFENDANT FRALEY’S STATEMENT
               OF UNCONTROVERTED MATERIAL FACTS


       Defendant Edward Fraley (“Fraley”) respectfully moves the Court to strike Plaintiff Stone

Works, LLC (“Stone Works”)’s Amended Response to Defendant Fraley’s Statement of

Uncontroverted Material Facts (ECF No. 61). In support of his motion, Fraley incorporates his

contemporaneously-filed Brief in Support of Defendant Edward Fraley’s Motion to Strike Plaintiff

Stone Works, LLC’s Amended Response to Defendant Fraley’s Statement of Uncontroverted

Material Facts (ECF No. 65), and states:

       1.      On July 11, 2022, Stone Works filed its Amended Motion for Leave to File Surreply

(ECF No. 55) (the “Motion for Leave”) in response to Fraley’s Reply in Support of Motion for

Summary Judgment (ECF No. 52) (the “Reply”). See Motion for Leave (ECF No. 55), ¶ 15.

       2.      The Court granted the Motion for Leave on July 12, 2022. See Order Granting

Motion for Leave to File Surrreply (ECF No. 57). Stone Works filed its Surreply to Defendant’s

Reply on August 30, 2022 (ECF No. 62) (the “Surreply”).



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       3.      In addition to its Surreply, and without any legal basis or leave of the Court, Stone

Works filed its Amended Response to Defendant Fraley’s Statement of Uncontroverted Material

Facts (ECF No. 61) (the “Amended Response to Fraley’s SUMF”) on August 30, 2022, which

provides amended responses to Fraley’s Statement of Uncontroverted Material Facts (ECF No.

27) (hereafter “Fraley’s SUMF”).

       4.      The Amended Response to Fraley’s SUMF should be stricken and disregarded both

because it fails to comply with summary judgment procedure and because it unnecessarily delays

resolution of Fraley’s Motion for Summary Judgment, to Fraley’s detriment.

       5.      First, the Amended Response to Fraley’s SUMF should be stricken because it fails

to comply with applicable procedure contained Fed. R. Civ. P. 56 and related Local Rule 56.1, and

Stone Works has not sought leave to file its Amended Response to Fraley’s SUMF pursuant to

Fed. R. Civ. P. 56(e).

       6.      Additionally, Stone Works must not be afforded continued opportunities to

manufacture purported disputed facts and to delay summary judgment proceedings to Fraley’s

detriment. Stone Works has vastly exceeded the leave granted by the Court in connection with its

Surreply by attempting to introduce an unauthorized sixteen (16) page discussion of alleged

disputed facts sixty (60) days after Fraley filed his Reply.

       7.      Alternatively, in the event that the Court decides to consider Stone Works’

Amended Response to Fraley’s SUMF in connection with Fraley’s Motion for Summary

Judgment, Fraley respectfully requests opportunity to file a Sur-Sur-Reply Brief addressing the

new factual allegations contained in Stone Works’ Amended Response to Fraley’s SUMF.

       WHEREFORE, Defendant Edward Fraley respectfully requests the Court enter its order

striking Plaintiff’s Amended Response to Defendant Fraley’s Statement of Uncontroverted



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Material Facts (ECF No. 61), and awarding him such other and further relief as the Court deems

just and proper.

                                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 7th day of September, 2022, a true and
accurate copy of the foregoing instrument was filed with the Court’s electronic filing system,
which sent notice of such filing to the following attorneys of record:


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       The undersigned hereby certifies further that on this 7th day of September, 2022, a true and
accurate copy of the foregoing instrument was mailed via U.S. Regular Mail postage prepaid to
Pro Se Defendant William Thomas, 1205 Anemone Dr., North Little Rock, AR 72117, and Pro Se
Defendants Megan Sims and Randy Sims, 136 Borrder Circle, Benton, AR 72015.


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